Case 1-20-40402-cec Doc14 Filed 02/05/20 Entered 02/05/20 10:55:24

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK.

 

BROOKLYN DIVISION
IN RE CHAPTER 11
JORGE MIGUEL PRIETO CASE NO. 1-20-40402-cec
DEBTOR

 

NOTICE OF APPEARANCE AND
DEMAND FOR SERVICE OF PAPERS

PLEASE TAKE NOTICE, that the undersigned appears as counsel for Wells Fargo

Bank, N.A., a creditor and a party in interest, pertaining to property located at 103-04 34th
Avenue, Corona a/k/a Flushing, NY 11368, and pursuant to Rules 2002 and 9010(b) of the
Federal Rules of Bankruptcy Procedure, demands that all notices given or required to be served
in this case be given or served, as the case may be, to or upon the undersigned at the post office
address and telephone and facsimile number set forth below.
Dated: February 4, 2020

Respectfully Submitted,

/s/Barbara Dunleavy

Barbara Dunleavy

Bankruptcy Attorney

Shapiro, DiCaro & Barak, LLC

Attorneys for Wells Fargo Bank, N.A.

One Huntington Quadrangle, Suite 3N05

Melville, NY 11747

Telephone: (631) 844-9611
Fax: (631) 844-9525

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Barbara Dunleavy

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JORGE MIGUEL PRIETO CASE NO. 1-20-40402-cec
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FFIDAVIT OF SERVICE

STATE OF NEW YORK  )}
)ss:
COUNTY OF SUFFOLK  }

[, Jordan Rebolini, being sworn, say, I am not a party to this action; Iam over 18 years of

age, I reside in Suffolk County, New York.

o
On F h 0 \___, 2020 I served the within Notice of Appearance upon:

TO:
Jorge Miguel Prieto
10308 34th Avenue
Floor 3
Corona, NY 11368

at the addresses designated by the foregoing individuals for that purpose by depositing a true
copy of same enclosed in a postpaid, properly addressed wrapper, in an official depository under

the exclusive care and custody of the United States Postal Service within the State of New York.

15-042646 - BKO2
Case 1-20-40402-cec

And upon the following individuals:
Attorney for Debtor

Norma E. Ortiz
Ortiz & Ortiz LLP

U.S. Trustee - Brooklyn

electronically through CM/ECF,

Date sZ i ott

Sworn to before me this

Ath day of + j £

 
  

    

 

Notary Public
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: Notary Public, State of Naw York |
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Commi Qualified in Sufloik Ca: ‘y
fon vnission Expires 2022| |

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Doc 14 Filed 02/05/20

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_“sordan Rebolini
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